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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-02622-RBJ

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  LIBERTY GLOBAL, INC.,

         Defendant.




                                     JOINT STATUS REPORT



         Plaintiff, United States, and Defendant, Liberty Global, Inc. (LGI), hereby submit this

  joint status report. This case is currently scheduled for a telephone status conference with

  Magistrate Judge Varholak on March 21, 2024. (Dkt. 41.) The parties are continuing discussions

  with respect to the appropriate judgment in this case. They intend to suggest at the status

  conference that the Court set this case for a scheduling conference in 45 days (or at such time as

  is convenient for the Court), with the parties to propose a scheduling order ahead of the

  conference for the Court’s consideration.

         1.      This is one of two lawsuits concerning a series of transactions known as Project

  Soy. In the first case, Liberty Global, Inc. v. United States, Civil Action No. 20-cv-3501-RBJ,

  LGI sought a refund of taxes it contended it had overpaid for tax year 2018, in connection with




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  Project Soy. In the second case, i.e., the instant suit, the United States seeks additional taxes it

  contends LGI would owe if the United States prevails in the first suit.

          2.      Two of the major disputes between the parties in this case were decided by the Court

  through two decisions on summary judgment in the first suit, Civil Action No. 20-cv-3501-RBJ. The

  decision at Dkt. 46 in that case held that a temporary Treasury regulation did not have retroactive

  effect to LGI’s 2018 tax year. The decision at Dkt. 87 in that case held that the Project Soy

  transactions were subject to the codified economic substance doctrine, 26 U.S.C. § 7701, such that

  LGI was not entitled to the refund it sought. LGI is currently appealing the outcome to the Tenth

  Circuit Court of Appeals.

          3.      As the parties have long indicated, the computations to resolve LGI’s tax liability

  given the Court’s prior decisions, i.e., the subject of this suit, are complex. The United States has

  acknowledged that LGI might contend that other tax items would affect the computation of ultimate

  amount of tax due. (See Am. Compl. ¶ 36, Dkt. 4.)

          4.      As described in a prior status report (Dkt. 39), the parties have been working

  towards submitting a proposed form of judgment that would be consistent with Judge Jackson’s

  opinions in the related matter. The parties have been working on two related sets of calculations:

  (1) a joint computation of the tax that would be due if, as the Court determined, the temporary

  regulation does not apply but the economic substance doctrine does apply, such that the earnings

  and profits generated under Project Soy should be disregarded; and (2) an alternative calculation

  that would reflect the amount that the United States contends would be due if the Court, in

  addition to finding for the United States on the application of the economic substance doctrine,

  had also upheld the validity of the temporary Treasury regulation. The United States respects that

  the Court decided that question in Case No. 20-cv-3501, but believes it is relevant to the question

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  whether the ultimate judgment to be entered by the Court in this case is partially adverse to the

  United States, such that an appeal on that issue may be appropriate.

         5.      The parties have collaborated on the calculations in good faith and believe they

  have resolved certain points of disagreement. However, the parties have still not reached

  agreement on the final computations.

         6.      At present, the parties’ computations with respect to the proposed judgment differ

  by over $100 million in tax.

         7.      This difference is primarily driven by a question concerning the proper

  interpretation of the Court’s order at Dkt. 87 applying the economic substance doctrine.

                 a. The United States takes the position that the Court has already ruled that the tax

         attributes generated by Steps 1-3 of Project Soy should be disregarded for tax purposes,

         not that LGI and its related entities did not execute one or more of those steps. Under the

         economic substance doctrine, LGI’s tax liability should be calculated without regard to

         any tax benefits generated by Steps 1-3.

                 b. LGI takes the position that, even respecting the Court’s order, some earnings

         and profits related to the conversion of Telenet Group BVBA to Telenet Group NV/SA

         must be respected. There is no dispute that: (1) before Project Soy, Telenet Group BVBA

         was a disregarded entity for U.S. tax purposes; and (2) after Project Soy, that same entity

         had become Telenet Group NV/SA—an entity treated as a corporation for U.S. tax

         purposes. LGI argues that this conversion happened and associated tax consequences of

         the conversion must be respected. Thus, while the Court’s order requires that some

         portions of Project Soy be disregarded and the associated earnings and profits ignored—


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         e.g., the issuance of the profit certificates and the transfer of a financing entity—the basic

         entity conversion and associated earnings and profits that arise solely because of that

         conversion must be respected to give effect to the economic reality of the transaction.

         8.      A second area of dispute relates to the amount of previously untaxed earnings and

  profits that the relevant members of LGI’s corporate family generated through business

  operations, as opposed to through Project Soy. LGI has proposed a revised earnings and profits

  amount dating back to 2007. This may implicate a legal question of whether and to what extent

  LGI can revise its earlier earnings and profits. This may also create a factual question as to the

  calculation of those earnings and profits.

         9.      The parties are conferring regarding the most efficient path to resolving the

  computational dispute outlined above. The parties would submit a proposed scheduling order to

  the Court at least 7 days prior to the scheduling hearing, though the parties would propose a

  shorter period for the Rule 26(f) meeting then in the usual case given the parties’ familiarity with

  the litigation. This timeline is also designed to work around various scheduling conflicts. The

  parties are prepared to discuss their proposals in more detail at the March 21, 2024, conference.




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         Respectfully submitted this 20th day of March, 2024.


   /s/ Nathan Wacker                                 DAVID A. HUBBERT
   Rajiv Madan                                       Deputy Assistant Attorney General
   Nathan Wacker
   Skadden, Arps, Slate, Meagher & Flom LLP          /s/ E. Carmen Ramirez
   1440 New York Avenue, N.W.                        Thomas J. Sawyer
   Washington, DC 20005                              E. Carmen Ramirez
   (202) 371-7020 (Madan)                            Trial Attorneys
   (202) 371-7182 (Wacker)                           U.S. Department of Justice, Tax Division
   Raj.Madan@skadden.com                             P.O. Box 683, Ben Franklin Station
   Nathan.Wacker@skadden.com                         Washington, D.C. 20044
                                                     Tel: (202) 514-8129 (Sawyer)
   Gregory S. Tamkin                                      (202) 616-2885 (Ramirez)
   Dorsey & Whitney LLP                              Fax: (202) 307-0054
   1400 Wewatta Street, Suite 400                    Thomas.J.Sawyer@usdoj.gov
   Denver, CO 80202-5549                             E.Carmen.Ramirez@usdoj.gov
   tamkin.greg@dorsey.com
                                                     Attorneys for the United States of America
   Attorneys for Defendant Liberty
   Global, Inc.



                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 20, 2024, I served a copy of the foregoing document by

  filing it through the Court’s CM/ECF system, which will send an electronic copy to all counsel

  of record.


                                                       Respectfully submitted,

                                                       /s/ Nathan Wacker
                                                       Nathan Wacker




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